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10
11                            UNITED STATES DISTRICT COURT
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                 WESTERN DIVISION
14
     CHRISTOPHER HOBBS,                       No. 2:18-cv-0480 PSG (Ex)
15
                Plaintiff,                    NOTICE OF SUBSTITUTION
16
                       v.                     [28 U.S.C. § 2679(d)(2)]
17
     RANDALL DEVINE, an individual;           Honorable Philip S. Gutierrez
18
     AND DOE DEFENDANTS 1-50,
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                Defendants.
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     Case 2:18-cv-00480-PSG-E Document 17 Filed 06/29/18 Page 2 of 3 Page ID #:65




 1           TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO THE PLAINTIFF:
 3           NOTICE IS HEREBY GIVEN that, pursuant to 28 U.S.C. § 2679(d)(2), the
 4   United States of America is hereby substituted as the defendant herein for the Plaintiff’s
 5   California state law tort claims for (3) intentional infliction of emotional distress; and (4)
 6   libel, slander, and defamation, in place and instead of Randall Devine.1 The basis for this
 7   substitution is set forth in the Certification of the Chief of the Civil Division of the
 8   United States Attorney’s Office for the Central District of California, which states that
 9   Randall Devine was acting within the course and scope of his employment at all times
10   relevant to the events in this action. A true and correct copy of the Certification is
11   attached hereto.
12           A Proposed Order reflecting this substitution and the corresponding change to the
13   caption of this case is respectfully submitted herewith for the Court’s convenience.
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15       Dated: June 29, 2018                    Respectfully submitted,
16                                               NICOLA T. HANNA
                                                 United States Attorney
17                                               DAVID M. HARRIS
                                                 Assistant United States Attorney
18                                               Chief, Civil Division
                                                 JOANNE S. OSINOFF
19                                               Assistant United States Attorney
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20
                                                  /s/ Daniel A. Beck
21                                               DANIEL A. BECK
                                                 Assistant United States Attorney
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                                                 Attorneys for Defendant Randall Devine
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27         The United States is only substituted as the defendant for the Complaint’s
     California law tort claims, nos. 3 and 4. The United States is not substituted as a
28   defendant for the Complaint’s constitutional tort claims, i.e. Bivens claims nos. 1 and 2,
     for which Randall Devine remains the named defendant.
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